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                                 UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

 JAY RICHARDSON, Individually and for                 Case No. ___________________
 Others Similarly Situated,

                   Plaintiffs,
 v.                                                   Jury Trial Demanded

 NES GLOBAL TALENT US INC.,
                                                      FLSA Collective Action
                   Defendant.


                      ORIGINAL COLLECTIVE ACTION COMPLAINT

                                               SUMMARY

        1.      NES Global Talent US Inc. (NES) has failed to pay Jay Richardson (Richardson), and

other workers like him, overtime as required by the Fair Labor Standards Act (FLSA).

        2.      Instead, NES pays Richardson, and other workers like him, the same hourly rate for

all hours worked, including those in excess of 40 in a workweek.

        3.      Richardson brings this collective action to recover unpaid overtime and other

damages.

                                      JURISDICTION AND VENUE

        4.      This Court has original subject matter jurisdiction pursuant to 28 U.S.C. § 1331

because this action involves a federal question under the FLSA. 29 U.S.C. § 216(b).

        5.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(2) because a substantial

portion of the events giving rise to this action occurred in this District.

        6.      Richardson worked for NES in this District in Harris County, Texas.

                                             THE PARTIES

        7.      Richardson is an hourly employee of NES.
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       8.      Richardson has worked for NES since approximately April 2019.

       9.      His consent to be a party plaintiff is attached as Exhibit A.

       10.     NES is headquartered in Altrincham, United Kingdom.

       11.     NES is a company doing business throughout the United States, including in Harris

County, Texas. NES may be served by serving its registered agent: Paul Kelly at One Memorial City

Plaza, 800 Gessner Road, Suite 310, Houston, Texas 77024.

                                  COVERAGE UNDER THE FLSA

       12.     At all relevant times, NES was an employer within the meaning of the Section 3(d) of

the FLSA, 29 U.S.C. § 203(d).

       13.     At all relevant times, NES was an enterprise within the meaning of Section 3(r) of the

FLSA, 29 U.S.C. § 203(r).

       14.     At all relevant times, NES was an enterprise engaged in commerce or in the production

of goods for commerce within the meaning of Section 3(s)(1) of the FLSA, 29 U.S.C. § 203(s)(1),

because it had employees engaged in commerce or in the production of goods for commerce, or

employees handling, selling, or otherwise working on goods or materials – such as tools, cell phones,

and personal protective equipment - that have been moved in or produced for commerce.

       15.     At all relevant times, NES had an annual gross volume of sales made in excess of

$1,000,000.

       16.     At all relevant times, Richardson and the Putative Class Members (defined below) were

engaged in commerce or in the production of goods for commerce.

                                            THE FACTS

       17.     NES is a staffing company that provides recruitment services to the oil and gas

industry, among others. See generally https://www.NES.com/uoss (Last visited January 9, 2020).

       18.     Richardson has worked for NES from approximately April 2019 to Present.


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         19.    Richardson performs work for NES at its customer’s (Braskem America, Inc.)

polypropylene plant production plant in Deer Park, Texas.

         20.    Richardson is a Commissioning Subject Matter Expert (“SME”) for NES.

         21.    As a Commissioning SME, Richardson drafts procedures and start-up plans to

facilitate the transition of plant operations from their construction phase to being actively operational.

         22.    Richardson reports the hours he works to NES on a regular basis.

         23.    Richardson is not guaranteed a salary.

         24.    If Richardson works fewer than 40 hours in a week, he is only paid for the hours

works.

         25.    Richardson regularly worked over 40 hours in a week.

         26.    In fact, Richardson routinely works five 10-hour shifts per week. Frequently,

Richardson works a six to seven 10-hour shifts.

         27.    Although he often worked 50 or even 70 or more hours per workweek, NES never

paid Richardson any overtime but, rather, paid him straight-time-for-overtime as shown on the

following earnings statement:




         28.    The hours Richardson and the Putative Class Members (defined below) work are

reflected in NES’s records.




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        29.    Rather than receiving time and half as required by the FLSA, Richardson only receives

“straight time” pay for overtime hours worked.

        30.    NES’s “straight time for overtime” payment scheme violates the FLSA.

        31.    NES was and is aware of the overtime requirements of the FLSA.

        32.    NES nonetheless fails to pay certain employees, such as Richardson, overtime.

        33.    NES did not guarantee Robertson and Putative Class Members a salary.

        34.    NES’s failure to pay overtime to these workers was, and is, a willful violation of the

FLSA.

                            FLSA COLLECTIVE ACTION ALLEGATIONS

        35.    NES’s illegal “straight time for overtime” policy extends beyond Richardson.

        36.    It is the “straight time for overtime” payment plan that is the “policy that is alleged to

violate the FLSA” in this FLSA collective action. Bursell v. Tommy’s Seafood Steakhouse, No. CIV.A. H-

06-0386, 2006 WL 3227334, at *3 (S.D. Tex. Nov. 3, 2006); Wellman v. Grand Isle Shipyard, Inc., No.

CIV.A. 14-831, 2014 WL 5810529, at *5 (E.D. La. Nov. 7, 2014) (certifying “straight time for

overtime” claim for collective treatment).

        37.    NES pays dozens of workers using the same unlawful scheme.

        38.    Any differences in job duties do not detract from the fact that these workers were

entitled to overtime pay.

        39.    The workers impacted by NES’s “straight time for overtime” scheme should be

notified of this action and given the chance to join pursuant to 29 U.S.C. § 216(b).

        40.    Therefore, the class is properly defined as:

        All employees of NES who were, at any point in the past 3 years, paid the same
        hourly rate for hours worked over 40 in a work week (or “straight time for
        overtime.”) (Putative Class Members).




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                                  COLLECTIVE CAUSES OF ACTION

        41.     Richardson incorporates all previous paragraphs and alleges that the illegal pay

practices NES imposed on Richardson were likewise imposed on the Putative Class Members.

        42.     Numerous individuals were victimized by this pattern, practice, and policy which is in

willful violation of the FLSA.

        43.     Numerous other individuals, like Richardson, indicated they were paid in the same

manner and were not properly compensated for all hours worked as required by the FLSA.

        44.     Based on his experiences and tenure with NES, Richardson is aware that NES’s illegal

practices were imposed on the Putative Class Members.

        45.     The Putative Class Members were all paid straight time for overtime and not afforded

the overtime compensation when they worked in excess of forty (40) hours per week.

        46.     NES’s failure to pay wages and overtime compensation at the rates required by the

FLSA results from generally applicable, systematic policies, and practices which are not dependent on

the personal circumstances of the Putative Class Members.

        47.     The specific job titles or precise job locations of the various Putative Class Members

does not prevent collective treatment.

        48.     A collective action, such as the instant one, is superior to other available means for fair

and efficient adjudication of the lawsuit.

        49.     Although the issue of damages may be somewhat individual in character, there is no

detraction from the common nucleus of liability facts. Therefore, this issue does not preclude

collective action treatment.

                                             JURY DEMAND

        50.     Richardson demands a trial by jury




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                                     PRAYER

51.   Richardson prays for relief as follows:

      a.      An Order designating the Putative Class as a collective action and permitting

              the issuance of a notice pursuant to 29 U.S.C. § 216(b) to all Putative Class

              Members with instructions to permit them to assert timely FLSA claims in this

              action by filing individual Consents to Sue pursuant to 29 U.S.C. § 216(b);

      b.      For an Order pursuant to Section 16(b) of the FLSA finding NES liable for

              unpaid back wages due to Richardson and the Putative Class Members for

              liquidated damages equal in amount to their unpaid compensation;

      c.      For an Order awarding attorneys’ fees, costs and pre- and post-judgment

              interest; and

      d.      For an Order granting such other and further relief as may be necessary and

              appropriate.

                                      Respectfully submitted,

                                      By: /s/ Michael A. Josephson______
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                                 AND

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